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                            IN THE UNITED STATES DISTRICT COURT FOR
                                THE SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                                         CASE NO: 17-CV-23942-KMW

     MONTEL WILLIAMS and MONTEL WILLIAMS
     ENTERPRISES, INC.,

                                       Plaintiffs,

     v.

     ADVANCEABLE TECHNOLOGY, LLC; BEAUTY
     STRONG, LLC (f/k/a HATHOR SECRETS, LLC f/k/a
     SECRETS OF ISIS, LLC); SNOWFLAKE MARKETING
     LLC; TIMOTHY ISAAC; COMMON SENSE BEAUTY,
     LLC; HGK GLOBAL MEDIA LLC; and DOES and ABC
     COMPANIES 1-100 inclusive,

                             Defendants.
     ______________________________________________/

              DEFENDANTS COMMON SENSE BEAUTY LLC & HGK GLOBAL MEDIA LLC
           ANSWER AND AFFIRMATIVE DEFENSES TO THE AMENDED COMPLAINT

              Defendants, COMMON SENSE BEAUTY, LLC (hereinafter “CSB”) and HGK GLOBAL

     MEDIA LLC (hereinafter “HGK”), by and through undersigned counsel, hereby file their Answer

     and Affirmative Defenses to Plaintiffs’ Complaint as follows:

              1.      Defendants deny the allegations contained in Paragraph 1 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              2.      With respect to Paragraph 2 of Plaintiffs’ Amended Complaint, Defendants admit

     Plaintiff, Montel Williams (hereinafter “WILLIAMS”), hosted a talk show for a number of years.

     Defendants are without personal knowledge of any further allegations contained in Paragraph 2 of

     Plaintiffs’ Complaint and therefore deny those allegations and demand strict proof demanded

     thereof.



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              3.      Defendants admit that Defendant Advanceable Technology, LLC supplies and sells

     products containing cannabidiol (CBD) oils. Defendants otherwise deny the remaining allegations

     contained in Paragraph 3 of Plaintiffs’ Amended Complaint and demand strict proof thereof.

              4.      Defendants deny the allegations contained in Paragraph 4 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              5.      Defendants deny the allegations contained in Paragraph 5 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              6.      Defendants deny the allegations contained in Paragraph 6 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              7.      Defendants deny the allegations contained in Paragraph 7 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              8.      Defendants deny the allegations contained in Paragraph 8 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              9.      Defendants deny the allegations contained in Paragraph 9 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

                                                   THE PARTIES

              10.     With respect to Paragraph 10 of Plaintiff’s Amended Complaint, Defendants admit

     that Williams is an individual. Defendants are without personal knowledge of any further

     allegations contained in Paragraph 10 of Plaintiffs’ Amended Complaint and therefore deny the

     same and demand strict proof thereof.

              11.     Defendants are without personal knowledge of the allegations contained in

     Paragraph 11 of Plaintiffs’ Amended Complaint and therefore deny the same and demand strict

     proof thereof.

                                                            2

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              12.     With respect to Paragraph 12 of Plaintiff’s Amended Complaint, Defendants admit

     Defendant Advanceable Technology, LLC is an Arizona company whose business address is 6501

     E. Greenway Parkway, Scottsdale, AZ 85234, who transacts business within the State of Florida

     and this judicial district. Defendants otherwise deny the remaining allegations contained in

     Paragraph 12 of Plaintiffs’ Amended Complaint and demand strict proof thereof.

              13.     With respect to Paragraph 13 of Plaintiffs’ Amended Complaint, Defendants admit

     that Defendant Beauty Strong, LLC is an Arizona company whose business address is 6501 E.

     Greenway Parkway, Scottsdale, AZ 85234. Defendants otherwise deny any further allegations

     contained in Paragraph 13 of Plaintiffs’ Amended Complaint and demand strict proof thereof.

              14.     With respect to Paragraph 14 of Plaintiffs’ Amended Complaint, Defendants admit

     that Snowflake Marketing, LLC is an Arizona company whose business address is 10456 N 74th

     Street, suite 805 Scottsdale, AZ 85258 and that it shares an address with other Defendants in this

     suit. Defendants otherwise deny the remaining allegations contained in Paragraph 14 of Plaintiffs’

     Amended Complaint and demand strict proof thereof.

              15.     Defendants admit that HGK Global Media, LLC is an Arizona company whose

     business address is 6501 E. Greenway Pkwy, Scottsdale, Arizona 85254 which is the same address

     for Defendant Advanceable and Beauty. Defendants otherwise deny the remaining allegations

     contained in Paragraph 15 of Plaintiffs’ Amended Complaint and demand strict proof thereof.

              16.     Defendants admit that Common Sense Beauty, LLC is an Arizona company whose

     business address is 6501 E. Greenway Pkwy, Scottsdale, Arizona 85254 which is the same address

     for Defendants Advanceable and Beauty. Defendants otherwise deny the remaining allegations

     contained in Paragraph 16 of Plaintiffs’ Amended Complaint and demand strict proof thereof.




                                                            3

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              17.     Defendants are without personal knowledge of the allegations contained in

     Paragraph 17 of Plaintiffs’ Amended Complaint and therefore deny the same and demand strict

     proof thereof.

              18.     With respect to Paragraph 18 of Plaintiff’s Amended Complaint, Defendants admit

     that Defendant Isaac is a member/manager of Defendants Advanceable Technology, LLC, Beauty

     Strong, LLC, HGK Global Media, LLC Common Sense Beauty, LLC and Snowflake Marketing,

     LLC, that he resides in Arizona, and that Defendant Advanceable Technology, LLC transacts

     business within the State of Florida and this judicial district by selling products to consumers.

     Defendants otherwise deny the remaining allegations contained in Paragraph 18 of Plaintiffs’

     Amended Complaint and demand strict proof thereof.

              19.     Defendants are without personal knowledge of the allegations contained in

     Paragraph of Plaintiffs’ Amended Complaint and therefore deny the same and demand strict proof

     thereof.

              20.      Defendants are without personal knowledge of the allegations contained in

     Paragraph 20 of Plaintiffs’ Amended Complaint and therefore deny the same and demand strict

     proof thereof.

              21.     Defendants deny the allegations contained in Paragraph 21 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

                                         JURISDICTION AND VENUE

              22.     With respect to Paragraph 22 of Plaintiffs’ Amended Complaint, Defendants admit

     that this Court would have subject matter jurisdiction for actions arising under the Lanham Act,

     15 U.S.C. §1051, et seq. and that the Court has subject matter jurisdiction over the actions alleged

     by Plaintiffs.

                                                            4

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              23.     With respect to Paragraph 23 of Plaintiffs’ Amended Complaint, Defendants admit

     this Court has personal jurisdiction over Defendant Advanceable Technology, LLC and that venue

     is proper. Defendants otherwise deny the remaining allegations contained in Paragraph 23 of

     Plaintiffs’ Complaint and demand strict proof thereof.

                                           FACTUAL ALLEGATIONS

              24.     Defendants are without personal knowledge of the allegations contained in

     Paragraph 24 of Plaintiffs’ Amended Complaint and therefore deny the same and demand strict

     proof thereof.

              25.     Defendants are without personal knowledge of the allegations contained in

     Paragraph 25 of Plaintiffs’ Amended Complaint and therefore deny the same and demand strict

     proof thereof.

              26.     Defendants are without personal knowledge of the allegations contained in

     Paragraph 26 of Plaintiffs’ Amended Complaint and therefore deny the same and demand strict

     proof thereof.

              27.     Defendants are without personal knowledge of the allegations contained in

     Paragraph 27 of Plaintiffs’ Amended Complaint and therefore deny the same and demand strict

     proof thereof.

              28.     Defendants are without personal knowledge of the allegations contained in

     Paragraph 28 of Plaintiffs’ Amended Complaint and therefore deny the same and demand strict

     proof thereof.

              29.     Defendants deny the allegations contained in Paragraph 29 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.




                                                            5

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              30.     Defendants are without personal knowledge of the allegations contained in

     Paragraph 30 of Plaintiffs’ Amended Complaint and therefore deny the same and demand strict

     proof thereof.

              31.     Defendants are without personal knowledge of the allegations contained in

     Paragraph 31 of Plaintiffs’ Amended Complaint and therefore deny the same and demand strict

     proof thereof.

              32.     Defendants are without personal knowledge of the allegations contained in

     Paragraph 32 of Plaintiffs’ Amended Complaint and therefore deny the same and demand strict

     proof thereof.

              33.     Defendants are without personal knowledge of the allegations contained in

     Paragraph 33 of Plaintiffs’ Amended Complaint and therefore deny the same and demand strict

     proof thereof.

              34.     Defendants are without personal knowledge of the allegations contained in

     Paragraph 34 of Plaintiffs’ Amended Complaint and therefore deny the same and demand strict

     proof thereof.

              35.     Defendants are without personal knowledge of the allegations contained in

     Paragraph 35 of Plaintiffs’ Amended Complaint and therefore deny the same and demand strict

     proof thereof.

              36.     Defendants deny the allegations contained in Paragraph 36 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              37.     Defendants deny the allegations contained in Paragraph 37 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.




                                                            6

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              38.     Defendants are without personal knowledge of the allegations contained in

     Paragraph 38 of Plaintiffs’ Amended Complaint and therefore deny the same and demand strict

     proof thereof.

              39.     Defendants deny the allegations contained in Paragraph 39 of Plaintiffs’ Complaint

     and demand strict proof thereof.

              40.     Defendants deny the allegations contained in Paragraph 40 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              41.     Defendants deny the allegations contained in Paragraph 41 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              42.     Defendants deny the allegations contained in Paragraph 42 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              43.     Defendants deny the allegations contained in Paragraph 43 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              44.     Defendants deny the allegations contained in Paragraph 44 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              45.     Defendants are without personal knowledge of the allegations contained in

     Paragraph 45 of Plaintiff’s Amended Complaint and therefore deny the same and demand strict

     proof thereof.

              46.     Defendants are without personal knowledge of the allegations contained in

     Paragraph 46 of Plaintiff’s Amended Complaint and therefore deny the same and demand strict

     proof thereof.




                                                            7

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              47.     Defendants are without personal knowledge of the allegations contained in

     Paragraph 47 of Plaintiff’s Amended Complaint and therefore deny the same and demand strict

     proof thereof.

              48.     Defendants deny the allegations contained in Paragraph 48 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              49.     Defendants deny the allegations contained in Paragraph 49 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              50.     Defendants deny the allegations contained in Paragraph 50 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              51.     Defendants deny the allegations contained in Paragraph 51 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              52.     Defendants deny the allegations contained in Paragraph 52 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              53.     With respect to Paragraph 53 of Plaintiffs’ Amended Complaint, Defendants admit

     that Defendant Isaac is a member/manager of Defendants Advanceable Technology, LLC, Beauty

     Strong, LLC, HGK Global Media, LLC, Common Sense Beauty, LLC and Snowflake Marketing,

     LLC.     Defendants otherwise deny the remaining allegations contained in Paragraph 53 of

     Plaintiffs’ Amended Complaint and demand strict proof thereof.

              54.     Defendants deny the allegations contained in Paragraph 54 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              55.     Defendants deny the allegations contained in Paragraph 55 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.




                                                            8

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              56.     Defendants deny the allegations contained in Paragraph 56 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

                                                 COUNT I
                          (Direct, Contributory and/or Vicarious False Advertising
                                   under Section 43(a) of the Lanham Act)
                                           (By Plaintiff Williams)

              57.     With respect to Paragraph 57 of Plaintiffs’ Complaint, Defendants re-assert the

     foregoing responses to the allegations contained in Paragraphs 1 – 56 of Plaintiffs’ Complaint as

     though they were set forth verbatim herein.

              58.     With respect to Paragraph 58 of Plaintiffs’ Complaint, Defendants admit that the

     Lanham Act prevents misrepresenting the nature, characteristics, qualities or geographic origin of

     goods, services, or commercial activities. Defendants deny the remaining allegations contained in

     Paragraph 58 of Plaintiffs’ Amended Complaint and demand strict proof thereof.

              59.     Defendants deny the allegations contained in Paragraph 59 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              60.     Defendants deny the allegations contained in Paragraph 60 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              61.     Defendants deny the allegations contained in Paragraph 61 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              62.     Defendants deny the allegations contained in Paragraph 62 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              63.     Defendants deny the allegations contained in Paragraph 63 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              64.     Defendants deny the allegations contained in Paragraph 64 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.
                                                            9

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              65.      Defendants deny the allegations contained in Paragraph 65 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

                                                 COUNT II
                         (Direct, Contributory and/or Vicarious False Endorsement
                    and Sponsorship, False Designation of Origin, and Unfair Competition
                                   under Section 43(a) of the Lanham Act)
                                      (By Plaintiff Montel Enterprises)

              66.      With respect to Paragraph 66 of Plaintiffs’ Amended Complaint, Defendants re-

     assert the foregoing responses to the allegations contained in Paragraphs 1 – 65 of Plaintiffs’

     Complaint as though they were set forth verbatim herein.

              67.      With respect to Paragraph 67 of Plaintiffs’ Amended Complaint, Defendants admit

     the Lanham Act contains the language quoted by Plaintiff. Defendants otherwise deny the

     remaining allegations contained in Paragraph 67 of Plaintiffs’ Amended Complaint and demand

     strict proof thereof.

              68.      Defendants are without personal knowledge of the allegations contained in

     Paragraph 68 of Plaintiffs’ Amended Complaint and therefore deny the same and demand strict

     proof thereof.

              69.      Defendants deny the allegations contained in Paragraph 69 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              70.      Defendants deny the allegations contained in Paragraph 70 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              71.      Defendants deny the allegations contained in Paragraph 71 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              72.      Defendants deny the allegations contained in Paragraph 72 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

                                                           10

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              73.     Defendants deny the allegations contained in Paragraph 73 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              74.     Defendants deny the allegations contained in Paragraph 74 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              75.     Defendants deny the allegations contained in Paragraph 75 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              76.     Defendants deny the allegations contained in Paragraph 76 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

                                                COUNT III
               (Violation of the Right of Publicity and Right of Privacy, Fla. Stat. §540.08)
                                          (By Plaintiff Williams)

              77.     With respect to Paragraph 77 of Plaintiffs’ Amended Complaint, Defendants re-

     assert the foregoing responses to the allegations contained in Paragraphs 1 – 76 of Plaintiffs’

     Amended Complaint as though they were set forth verbatim herein.

              78.     With respect to Paragraph 78 of Plaintiffs’ Amended Complaint, Defendants admit

     Defendants Williams is a former daytime talk-show host. Defendants are otherwise without

     personal knowledge of the remaining allegations contained in Paragraph 78 of Plaintiffs’ Amended

     Complaint and therefore deny the same and demand strict proof thereof.

              79.     With respect to Paragraph 79 of Plaintiffs’ Amended Complaint, Defendants assert

     that Fla. Stat. §540.08 speaks for itself. Defendants deny the remaining allegations contained in

     Paragraph 79 of Plaintiffs’ Amended Complaint and demand strict proof thereof.

              80.     Defendants deny the allegations contained in Paragraph 80 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.




                                                           11

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              81.     Defendants deny the allegations contained in Paragraph 81 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              82.     Defendants deny the allegations contained in Paragraph 82 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              83.     Defendants deny the allegations contained in Paragraph 83 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              84.     Defendants deny the allegations contained in Paragraph 84 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              85.     Defendants deny the allegations contained in Paragraph 85 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

                                                      COUNT IV
                              (Violation of the Right of Common Law Right of Publicity
                                                 (By Plaintiff Williams)

              86.     With respect to Paragraph 86 of Plaintiffs’ Amended Complaint, Defendants re-

     assert the foregoing responses to the allegations contained in Paragraphs 1 – 86 of Plaintiffs’

     Amended Complaint as though they were set forth verbatim herein.

              87.     With respect to Paragraph 87 of Plaintiffs’ Complaint, Defendants admit that

     Plaintiff Williams is a former daytime talk-show host. Defendants are otherwise without personal

     knowledge of the remaining allegations in Paragraph 87 of Plaintiffs’ Amended Complaint and

     therefore deny the same and demand strict proof thereof.

              88.     With respect to Paragraph 88 of Plaintiffs’ Amended Complaint, Defendants admit

     there is a common law right of publicity. Defendants otherwise deny the remaining allegations

     contained in Paragraph 78 of Plaintiffs’ Amended Complaint and demand strict proof thereof.




                                                           12

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              89.      Defendants deny the allegations contained in Paragraph 89 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              90.      Defendants deny the allegations contained in Paragraph 90 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              91.      Defendants deny the allegations contained in Paragraph 91 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              92.      Defendants deny the allegations contained in Paragraph 92 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              93.      Defendants deny the allegations contained in Paragraph 93 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              94.      Defendants deny the allegations contained in Paragraph 94 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

                                                    COUNT V
                    (Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. §501.201 et seq.)
                                                 (By all Plaintiffs)

              95.      With respect to Paragraph 95 of Plaintiffs’ Amended Complaint, Defendants re-

     assert the foregoing responses to the allegations contained in Paragraphs 1 – 94 of Plaintiffs’

     Complaint as though they were set forth verbatim herein.

              96.      Defendants admit the allegations contained in Paragraph 96 of Plaintiffs’ Amended

     Complaint.

              97.      Defendants deny the allegations contained in Paragraph 97 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              98.      Defendants deny the allegations contained in Paragraph 98 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

                                                           13

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              99.     Defendants deny the allegations contained in Paragraph 99 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              100.    Defendants deny the allegations contained in Paragraph 100 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              101.    Defendants deny the allegations contained in Paragraph 101 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

              102.    Defendants deny the allegations contained in Paragraph 102 of Plaintiffs’ Amended

     Complaint and demand strict proof thereof.

                                             REQUEST FOR RELIEF

              A. – H. Defendants deny that the Plaintiffs’ are entitled to any of the relief requested against

     these Defendants in Paragraph A – H of Plaintiffs’ Amended Complaint and demand strict proof

     thereof.

                                           AFFIRMATIVE DEFENSES

              103.    As and for a first affirmative defense, Defendants state that Plaintiffs failed to

     mitigate their damages, if any, and are therefore not entitled to recovery of any damages which

     could have been mitigated.

              104.    As and for a second affirmative defense, Defendants assert that any damages

     alleged by Plaintiffs were the result of intervening or superseding events, factors, occurrences or

     conditions, which were in no way caused or contributed to by Defendants.

              105.    As and for a third affirmative defense, Defendants assert that any damages alleged

     by Plaintiffs were the result of third parties not under the direction or control of Defendants, and

     Defendants cannot be held responsible for the action of these third parties.




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              106.    As and for a forth affirmative defense, Defendants state that the Plaintiffs’ claims

     are barred by the doctrine of unclean hands. Plaintiffs’ wrongful conduct precludes them from

     seeking to invoke the court’s equitable jurisdiction.

              107.    As and for a fifth affirmative defense, Defendants state that Plaintiffs have waived

     any cause of action or claim they may have had against Defendants by reason of Plaintiffs’ own

     actions and course of conduct.

              108.    As and for a sixth affirmative defense, Defendants state that Plaintiffs are barred by

     the doctrine of estoppel.

              109.    As and for a seventh affirmative defense, Defendants state that Plaintiffs’ claims

     are barred under the doctrine of laches and other related doctrines and principles.

              110.    As and for an eighth affirmative defense, Defendants state that Plaintiffs lack

     standing under the Lanham Act, 15 U.S.C. §1125 to bring the claims in Count I and Count II.

              111.    As and for a ninth affirmative defense, Defendants state that the Court lacks

     personal jurisdiction over these Defendants.

              112.    As and for a tenth affirmative defense, Defendants state that Plaintiffs’ claims are

     barred as the products that Plaintiffs sell, market, and advertise are illegal under federal law as

     they contain THC. Plaintiffs cannot avail themselves of remedies in federal court when they are

     violating federal law.

                                             JURY TRIAL DEMAND

                             Defendants demand trial by jury of all issues so triable.




                                                           15

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                                                              Respectfully submitted:

                                                              REINER & REINER, P.A.
                                                              Counsel for Common Sense Beauty, LLC,
                                                              & HGK Global Media LLC
                                                              9100 So. Dadeland Boulevard, Suite 901
                                                              Miami, Florida 33156-7815
                                                              Tel: 305 670-8282; Fax: 305 670-8989
                                                              dpr@reinerslaw.com
                                                              eservice@reinerslaw.com

                                                              By: /S/ DAVID P. REINER, II
                                                              __________________________________
                                                              DAVID P. REINER, II; FBN 416400




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                                                    CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on March 8, 2018, I electronically filed the foregoing with the
     Clerk of the Court using the CM/ECF. I also certify that the foregoing document is being served
     this day on all counsel either via transmission of Notices of Electronic Filing generated by
     CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
     to receive electronically Notices of Electronic Filing.


                                                                 REINER & REINER, P.A.
                                                                 Counsel for Common Sense Beauty, LLC,
                                                                 & HGK Global Media LLC
                                                                 9100 So. Dadeland Blvd., Suite 901
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